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Attorneys for Plaintiff
KENNETH SNYDER


                            UNITED STATES DISTRICT COURT

          EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION


KENNETH SNYDER,                                       CASE NO.: 2:21-cv-01487 -WBS-KJN

                   PLAINTIFF,                         PLAINTIFF’S NOTICE OF
                                                      SETTLEMENT OR OTHER
vs.                                                   DISPOSITION

 UNION PACIFIC RAILROAD
 COMPANY, a corporation,

                    Defendant.




TO THE COURT:

      Please take notice, Plaintiff hereby submits this Notice of Settlement to notify the Court

that the parties have reached an agreement to resolve this action in its entirety. Plaintiff requests

the Court retain jurisdiction until completion of settlement processing, and requests 60 days in

which to file a dismissal of the entire action.

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CASE NO.: 2:21-cv-01487                           1
PLAINTIFF'S NOTICE OF SETTLEMENT OR OTHER DISPOSITION
 Case 2:21-cv-01487-WBS-KJN Document 14 Filed 10/06/22 Page 2 of 4



DATED this 6th day of October, 2022.


                                       HILDEBRAND, McLEOD & NELSON, LLP



                                       By:
                                       PAULA S. RASMUSSEN
                                       Attorneys for Plaintiff
                                       KENNETH SNYDER




CASE NO.: 2:21-cv-01487                     2
PLAINTIFF'S NOTICE OF SETTLEMENT OR OTHER DISPOSITION
                                                                        Case 2:21-cv-01487-WBS-KJN Document 14 Filed 10/06/22 Page 3 of 4
                                                                    1                                     PROOF OF SERVICE
                                                                    2                      Kenneth Snyder vs. Union Pacific Railroad Company
                                                                              USDC Eastern District of California, Sacramento Division, Case No. 2:21-cv-01487
                                                                    3
                                                                        I, EDDY MACLEOD, certify that on October 6, 2022, I served the attached:
                                                                    4
                                                                    5   PLAINTIFF’S NOTICE OF SETTLEMENT OR OTHER DISPOSITION

                                                                    6   in said cause, by the method described below:

                                                                    7
                                                                    8
                                                                    9         Vincent Castillo                             Attorneys for Union Pacific Railroad
                                                                              Alexei N. Offill-Klein                       Company
                                                                   10         ALLEN, GLAESSNER, HAZELWOOD
                                                                              & WERTH, LLP
                                                                   11         180 Montgomery Street, Suite 1200
HILDEBRAND, MCLEOD & NELSON, LLP




                                                                   12         San Francisco, CA 94104
                             350 FRANK H. OGAWA PLAZA, 4TH FLOOR




                                                                              Fax: (415) 813-2045
                                                                   13
                                   TELEPHONE: (510) 451-6732
                                   OAKLAND, CA 94612-2006

                                    FACSIMILE: (510) 465-7023




                                                                   14                 BY OVERNIGHT DELIVERY: I certify that I caused such envelope(s) or
                                                                   15   package(s) designated by Federal Express with delivery fees paid or provided and;

                                                                   16                deposited such envelope(s) or package(s) in a facility regularly maintained by the
                                                                        Federal Express courier;
                                                                   17
                                                                                      delivered such envelope(s) or packages to an authorized courier or driver
                                                                   18
                                                                        authorized by Federal Express carrier to receive documents.
                                                                   19
                                                                                FACSIMILE: I certify that by use of facsimile machine telephone number 510-465-
                                                                   20   7023, I served a true copy of the above-entitled document(s), on the parties in said action by
                                                                        transmitting by facsimile machine to the numbers as set forth above, with a copy of the original
                                                                   21   to follow. I caused the machine to print a record of the fax transmission, a copy of which is
                                                                   22   attached to this Declaration.

                                                                   23     X             BY CM/ECF for parties that are CM/ECF participants. Service is being made
                                                                        electronically on those parties that are registered users of the Court's Electronic Case Filing
                                                                   24   System.
                                                                   25
                                                                                       BY ELECTRONIC MAIL: I hereby certify that I caused the above
                                                                   26   document(s) to be sent electronically to the following email addresses: vcastillo@aghwlaw.com;
                                                                        aklein@aghwlaw.com; ysanchez@aghwlaw.com
                                                                   27
                                                                   28

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                                                                                                              PROOF OF SERVICE
                                                                        Case 2:21-cv-01487-WBS-KJN Document 14 Filed 10/06/22 Page 4 of 4
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                                                                                                          PROOF OF SERVICE
                                                                    3                      Kenneth Snyder vs. Union Pacific Railroad Company
                                                                              USDC Eastern District of California, Sacramento Division, Case No. 2:21-cv-01487
                                                                    4
                                                                    5                 Executed this 6th day of October 2022, at Berkeley, California.

                                                                    6          Pursuant to FRCP 5(b), I certify that I am an employee of Hildebrand, McLeod &
                                                                        Nelson, LLP, who are members of the bar of this court and at whose direction this service was
                                                                    7   made.
                                                                    8
                                                                    9
                                                                   10
                                                                   11
HILDEBRAND, MCLEOD & NELSON, LLP




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                             350 FRANK H. OGAWA PLAZA, 4TH FLOOR




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